         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 1 of 25




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UNITED STATES OF AMERICA,                      §
                Plaintiff,                     §
V.                                             §
                                               §
DAVID ANDREW DIEHL,                            §       A-10-CR-297-LY
               Defendant.                      §

DAVID ANDREW DIEHL,                            §
               Petitioner,                     §
V.                                             §
                                               §       A-16-CV-1124-LY-ML
UNITED STATES OF AMERICA,                      §
                Respondent.                    §


            ORDER AND AMENDED REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE LEE YEAKEL
       UNITED STATES DISTRICT JUDGE:

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b) and Rule 1(e) of the Appendix C of the Local Court Rules of the

United States District Court for the Western District of Texas, Local Rules for the Assignment of

Duties to United States Magistrate Judges. The Government’s Motion for Return of Discovery

Materials and Discovery Protective Order (Dkt. #202) and David Diehl’s Amended Motion

Under 28 U.S.C. § 2255 (Dkt. #266) were referred to the undersigned for a Report and

Recommendation. Dkt. #265. Diehl has since filed a “First Petition for Particular FBI Report”

(Dkt. #267) and a “Petition to File Supplemental Brief Concerning Statute of Limitation

Curruption [sic] and Ex Post Facto Sentence” (Dkt. #269). As the Government’s Motion and

Diehl’s Amended 2255 Motion were referred to the undersigned, the undersigned has authority

to rule on these related motions. For the following reasons, the undersigned Magistrate Judge


                                               1
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 2 of 25




now disposes of the related motions and submits this Amended Report and Recommendation to

the District Court.

I.     BACKGROUND

       The undersigned previously issued a Report and Recommendation on Government’s

Motion for Return of Discovery Materials and Discovery Protective Order (Dkt. #202) and

David Diehl’s Motion Under 28 U.S.C. § 2255 (Dkt. #209). During the objection period, Diehl

sought leave to amend his Section 2255 Motion, and the Government filed no opposition to his

motion for leave. Dkt. #257. The District Court allowed Diehl to file an Amended Section 2255

Motion. Dkt. #258. Diehl’s Amended Section 2255 Motion incorporates his Original Section

2255 Motion and adds three additional grounds for relief. Dkt. #266. The Amended Section

2255 Motion has been referred to the undersigned for a Report and Recommendation. Dkt.

#265. Accordingly, the undersigned has prepared this Amended Report and Recommendation,

which incorporates his original Report and Recommendation (Dkt. #259) and addresses Diehl’s

new grounds. As the Government’s Motion for Return of Discovery Materials and Discovery

Protective Order (Dkt. #202) was also re-referred, this Amended Report and Recommendation

also incorporates the original Report and Recommendation as to that motion.

       In ruling on his direct appeal, the Fifth Circuit succinctly and exhaustively recounted the

facts of Diehl’s trial, conviction, and sentence. United States v. Diehl, 775 F.3d 714 (5th Cir.

2015). Finding no error in the Fifth Circuit’s factual recitation, it is repeated here. In 2010, Diehl

was charged with ten counts of sexual exploitation of a child/production of child pornography

under 18 U.S.C. § 2251(a). The indictment alleged that in 1999 and 2000, Diehl did knowingly

“employ, use, induce, entice, and coerce” three minor females to engage in sexually explicit




                                                  2
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 3 of 25




conduct for the purpose of making visual depictions of such conduct, and that the visual

depictions were “transported in interstate and foreign commerce and mailed.”

       Diehl waived a jury trial and proceeded to a bench trial before the District Court. He

entered into an agreed stipulation of facts and evidence wherein he admitted all of the elements

of the offenses, except the required interstate commerce nexus. Diehl stipulated that on multiple

occasions he induced three minor victims to engage in sexually explicit conduct for the purpose

of producing video depictions. As part of its deliberations, the District Court viewed the

pornographic images produced by Diehl. According to the evidence, Diehl recorded encounters

in which he sexually assaults three minor female victims on multiple separate occasions,

including scenes of oral sex, digital penetration, penile penetration, sodomy, lascivious

exhibition of the genitals and pubic area of the minors, and masturbation. Jane Doe #1 was

approximately 10 years old when the videos were made. Jane Doe #2, a relative of Diehl’s, was

approximately 8 years old. Jane Doe #3 was approximately 3 years old.

       Diehl stipulated that the ten video exhibits introduced by the Government and described

in the indictment were created between February 1999 and November 2000 in the Western

District of Texas. Diehl further admitted that: (1) each of the videos was found stored on one or

more computers, or other computer storage media, at places outside of Texas, (2) that the visual

depictions were found outside of Texas as recently as 2010, and (3) that each of the videos was

currently available on the internet, and all of them had been available since at least 2007. It was

undisputed that all the videos had been found on electronic media outside the state of Texas,

including in Arizona, Maryland, New Jersey, Indiana, and Australia.

       At the conclusion of the Government’s case, Diehl moved for a judgment of acquittal

pursuant to Federal Rule of Criminal Procedure 29, on the grounds that the Government had



                                                3
             Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 4 of 25




failed to provide sufficient evidence to establish a nexus to interstate commerce. The District

Court denied the motion.

           The District Court found Diehl guilty on all ten counts. The District Court found beyond

a reasonable doubt that the videos “clearly established” § 2251(a)’s “visual depiction” and

“sexually explicit” elements. The District Court also found that the facts showed beyond a

reasonable doubt that the production of the child pornography occurred within Texas and that it

appeared in other states on the internet, which was sufficient to show a nexus to interstate

commerce under § 2251(a).

           At the sentencing hearing, the District Court heard extensive argument and testimony

relevant to the Guidelines calculations, the 18 U.S.C. § 3553(a) sentencing factors, and the

appropriate sentence. The court also heard statements from the mother of one of the victims and

from Diehl. The court granted two of Diehl’s objections to Guidelines sentencing enhancements

and overruled three other objections, none of which Diehl challenged on appeal. The District

Court determined that the advisory imprisonment range under the 2000 Sentencing Guidelines

was 210 to 262 months of imprisonment. The statutory maximum sentence was 20 years of

imprisonment on each of the ten counts, or 200 years of imprisonment. The court imposed a total

sentence of 600 months of imprisonment and described the reasons for the sentence on the

record. Diehl’s counsel objected to the sentence as being substantively and procedurally

unreasonable. Diehl filed a timely notice of appeal and elected to proceed pro se on appeal.

           On appeal, Diehl alleged his indictment was untimely, his trial counsel was ineffective

for failing to raise a statute of limitations defense 1, there was insufficient evidence to prove

interstate commerce, and his sentence was procedurally and substantively unreasonable. The

Fifth Circuit ruled against Diehl on all points and affirmed his conviction and sentence.
1
    Diehl replaced his trial counsel before he was sentenced. Dkt. #106; Dkt. #107.

                                                           4
          Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 5 of 25




        The Supreme Court denied Diehl’s petition for writ of certiorari. Dkt. #190.

II.     SUMMARY OF PENDING MOTIONS

        The Government filed a motion for the return of discovery materials and for a discovery

protective order, seeking the return of all discovery materials provided by the Government to

Diehl in this case and the prohibition from such materials being disseminated or transferred to

Diehl’s or any third party’s control. Dkt. #202. The District Court referred this motion to the

undersigned for a report and recommendation. Dkt. #204. Diehl opposed the motion and filed a

motion for in camera review, asking the court to segregate out any attorney-client materials. Dkt.

#208. As part of the briefing process on the Government’s motion, the Government submitted a

descriptive inventory of the discovery items at issue.      Dkt. #215.    Because the inventory

contained minor-victims’ identifying information, the Government did not serve Diehl with its

inventory. The undersigned then reviewed the inventory, redacted the sensitive information,

served Diehl with the redacted version, and ordered him to respond to the inventory with

specificity as to why each individual item was needed, the anticipated use of the item in the

future, and what good cause exists to release the item to Diehl. Dkt. #216. Diehl objected to that

order, and the District Court overruled his objections. Dkt. #220, 221. Diehl then appealed that

order to the Fifth Circuit, who dismissed the appeal for lack of jurisdiction. Dkt. #223, 236.

Diehl also appealed to the Supreme Court, which denied his petition for a writ of certiorari. Dkt.

#244.

        Meanwhile, Diehl filed his original motion to vacate under 28 U.S.C. § 2255, which was

also referred to the undersigned for a report and recommendation. Dkt. #209. The Government

filed its response to Diehl’s 2255 motion, and Diehl filed a reply brief. Dkt. #218, #225. Diehl

asserted the following grounds for relief in his Original Section 2255 Motion:



                                                5
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 6 of 25




       1.      The statute of limitations was expired on all counts, and 18 U.S.C. § 3283
       does not apply to the offenses.
       2.      Counsel was ineffective for his failure to know the law, resulting in a
       wrongful conviction, specifically relating to the differences between the 1999 and
       2008 versions of 18 U.S.C. § 2251(a).
       3.      Counsel was ineffective for failing to object to the indictment being
       amended.
       4.      Counsel was ineffective for failing to object to 18 U.S.C. § 2251(a) (2008)
       being applied to the case.
       5.      Counsel was ineffective for failing to argue an appropriate defense.
       6.      Trial counsel was ineffective for making a Rule 29 motion at trial.
       7.      Trial counsel was ineffective for failing to subject the Government’s case
       to meaningful adversarial testing, specifically counsel’s advice to stipulate to all
       essential facts was per se ineffective.
       8.      United States v. Austin, 432 F.3d 598 (5th Cir. 2005) has been abrogated
       by the Supreme Court.
       9.      Counsel was ineffective for his failure to object to a pretrial order stating
       the courtroom would be closed when non-minors testified.
       10.     The cumulative effect of prosecutorial misconduct at the grand jury
       proceedings, pretrial, trial, in the PSR, and on appeal resulted in a manifest
       miscarriage of justice, contributing to the wrongful conviction and thirty-year
       upward variance.

Dkt. #209 (2255 Mtn.) at 4-7 (paraphrased in parts); Dkt. #266 (Amd. 2255 Mtn.). In his

Amended 2255 Motion, Diehl adds the following grounds for relief:

       11.     Counsel was ineffective because he failed to have defendant’s hardware
       inspected per 18 U.S.C. § 3509(m)(2)(B).
       12.     Counsel was ineffective because he did not challenge the NCMEC reports
       as hearsay.
       13.     Counsel was ineffective because he did not challenge the FBI’s search
       warrant at trial.

Dkt. #266 (Amd. 2255 Mtn.) at 7 (paraphrased).

       Diehl has also filed a “First Petition for Particular FBI Report” in which he seeks a May

2010 FBI disclosure that allegedly describes how witness Ken Courtney became known to the

FBI. Dkt. #267. Diehl also filed his “Petition to File Supplemental Brief Concerning Statute of

Limitation Curruption [sic] and Ex Post Facto Sentence.” Dkt. #269.




                                                6
          Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 7 of 25




III.    DISCOVERY MOTIONS RELATED TO DIEHL’S 2255 MOTION

        The court addresses the discovery motions before addressing the section 2255 motion.

        A.      Government’s Motion for Return of Its Discovery Materials (Dkt. #202)

        The Government seeks return of the material it provided to Diehl’s counsel to fulfill the

Government’s discovery obligations. The Government contends the materials were loaned to

Diehl for use during his criminal case but belong to the Government or the agency from which

the evidence originated.     The Government also contends much of the materials contain

information relating to child victims and are protected by 18 U.S.C. § 3509(d)(1)(A).

        Diehl argues that the materials should no longer be protected under § 3509 because the

victims are no longer minors.      He also argues that he needs the materials to prove his

prosecutorial misconduct claims. Diehl offers no authority that the protections given by §

3509(d)(1)(A) expire when the victim reaches the age of majority. Nor does the statute provide

for such a result.

        As described below, the majority of Diehl’s habeas claims involve purely legal issues, to

which the materials are not relevant. To the extent the claims contain arguments that are not

purely legal, the court has considered those claims in conjunction with Diehl’s request and Diehl

has not shown he is entitled to the materials as issue. Diehl contends he needs these materials

because “[s]evere prosecutorial misconduct has occured [sic] in this case, and this court should

not alow [sic] this evidence to be withheld.” Dkt. #246 at 2. However, as discussed below,

Diehl’s prosecutorial misconduct claims are either based on legal theories the Fifth Circuit has

rejected or are otherwise legally baseless. Moreover, the material at issue in this motion was all

in Diehl’s attorneys’ possession during his prosecution, trial, sentencing, and appeal. Diehl has

not shown why his arguments relying on this information could not have been made at trial or on



                                                7
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 8 of 25




appeal. Diehl’s arguments are an improper attempt to reopen and retry his case. Additionally,

Diehl provides no explanation as to why some items listed in the Government’s inventory are

necessary to him.     See Dkt. #246 at 2-4 (failing to respond to some inventory items).

Accordingly, the undersigned recommends that the Government’s motion (#202) be granted.

       B.      “First Petition for Particular FBI Report” (Dkt. #267)

       Diehl seeks a May 2010 FBI disclosure that allegedly describes how witness Ken

Courtney became known to the FBI. Dkt. #267 at 1. He contends this disclosure is in his former

counsel’s possession. Id. Accordingly, this disclosure is part of the materials addressed in the

Government’s Motion for Return of Its Discovery Materials. For the same reasons given above,

the court will deny this motion. Diehl also contends Courtney was deposed by a Florida state

police officer, and Diehl seeks a copy of that deposition and “all related state investigation

documentation regarding Ken Courtney.” Id. at 2.

       “‘A habeas petitioner, unlike the usual civil litigant in federal court, is not entitled to

discovery as a matter of ordinary course.’” United States v. Fields, 761 F.3d 443, 478 (5th Cir.

2014), as revised (Sept. 2, 2014) (quoting Bracy v. Gramley, 520 U.S. 899, 904 (1997)). Rule 6

of the Rules Governing Section 2255 Proceedings provides that a party may conduct discovery if

the judge, in the exercise of his discretion and for good cause shown, grants leave to do so.

RULES GOVERNING SECTION 2255 PROCEEDINGS             FOR THE   UNITED STATES DISTRICT COURTS

(“HABEAS RULES”) 6. A party requesting discovery must provide reasons for the request, and the

request must include the proposed discovery. Id. at 6(b). A party “demonstrates ‘good cause’

under Rule 6(a) ‘where specific allegations before the court show reason to believe that the

petitioner may, if the facts are fully developed, be able to demonstrate that he is . . . entitled to

relief.’” Fields, 761 F.3d at 478 (quoting Bracy, 520 U.S. at 908–09). However, Rule 6 “‘does



                                                 8
           Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 9 of 25




not authorize fishing expeditions.’” Id. (quoting Ward v. Whitley, 21 F.3d 1355, 1367 (5th Cir.

1994)).

          Diehl argues the May 2010 FBI disclosure shows how Courtney became known to the

FBI and this information is exculpatory. Dkt. #267 at 1. Although Diehl claims this information

is exculpatory, he does not explain how Courtney became known to the FBI if it was not through

their investigation of Diehl or how such information would be exculpatory.

          Rule 6 “‘does not authorize fishing expeditions.’” Fields, 761 F.3d at 478 (quoting Ward

v. Whitley, 21 F.3d at 1367). A defendant who has been convicted and has exhausted or waived

his right to appeal is presumed to have been fairly and finally convicted. United States v.

Placente, 81 F.3d 555, 558 (5th Cir. 1996) (citing United States v. Shaid, 937 F.2d 228, 231–32

(5th Cir. 1991) (en banc)). Diehl’s motion improperly seeks to reopen and retry his case.

Accordingly, the motion (#267) is denied.

IV.       2255 MOTIONS

          The court previously listed Diehl’s grounds for relief in his 2255 motions.        Those

grounds can generally be placed into three categories: issues raised on direct appeal, ineffective-

assistance-of-counsel issues, and a general argument of prosecutorial misconduct.

          A.     Standard of Review

          Under Section 2255, there are generally four grounds upon which a defendant may move

to vacate, set aside or correct his sentence: (1) the sentence was imposed in violation of the

Constitution or laws of the United States; (2) the district court was without jurisdiction to impose

the sentence; (3) the sentence imposed was in excess of the maximum authorized by law; and (4)

the sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. The nature of a

collateral challenge under section 2255 is extremely limited: “A defendant can challenge his



                                                 9
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 10 of 25




conviction after it is presumed final only on issues of constitutional or jurisdictional

magnitude . . . and may not raise an issue for the first time on collateral review without showing

both ‘cause’ for his procedural default, and ‘actual prejudice’ resulting from the error.” United

States v. Shaid, 937 F.2d 228, 232 (5th Cir. 1991). If the error is not of constitutional or

jurisdictional magnitude, the movant must show that the error could not have been raised on

direct appeal and would, if condoned, “result in a complete miscarriage of justice.” United

States v. Smith, 32 F.3d 194, 196 (5th Cir. 1994).

       The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) establishes a

one-year limitation period for the filing of a § 2255 motion. 28 U.S.C. § 2255(f). More

specifically, § 2255(f) provides:

       (f) A 1-year period of limitation shall apply to a motion under this section. The
       limitation shall run from the latest of—
               (1) the date on which the judgment of conviction becomes final;
               (2) the date on which the impediment to making a motion created by
                   government action in violation of the Constitution or laws of the
                   United States is removed, if the movant was prevented from making a
                   motion by such governmental action;
               (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the
                   Supreme Court and made retroactively applicable to cases on collateral
                   review; or
               (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

Id. The Fifth Circuit and the Supreme Court hold that a judgment becomes final when the

applicable period for seeking review of a final conviction expires. See Clay v. United States, 537

U.S. 522, 525 (2003); United States v. Gamble, 208 F.3d 536, 536–37 (5th Cir. 2000).

       B.      Ineffective Assistance of Counsel

       The Sixth Amendment to the United States Constitution guarantees a defendant in a

criminal case reasonably effective assistance of counsel. U.S. CONST. amend VI; Cuyler v.



                                                10
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 11 of 25




Sullivan, 446 U.S. 335, 344 (1980). To prevail on an ineffective assistance of counsel claim,

movant must satisfy the two-part test enunciated in Strickland v. Washington, 466 U.S. 668, 687

(1984). First, he must demonstrate counsel’s performance fell below an objective standard of

reasonableness. Id. Under this standard, counsel must “research relevant facts and law, or make

an informed decision that certain avenues will not be fruitful.” United States v. Conley, 349 F.3d

837, 841 (5th Cir. 2003).      Second, movant must prove he was prejudiced by counsel’s

substandard performance. Strickland, 466 U.S. at 687. “[T]o prove prejudice, the defendant

must show that there is a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Conley, 349 F.3d at 841-42. When a

movant fails to meet either requirement of the Strickland test, his ineffective assistance of

counsel claim is defeated. See Belyeu v. Scott, 67 F.3d 535, 538 (5th Cir. 1996); United States v.

Gaudet, 81 F.3d 585, 592 (5th Cir. 1993). “‘[A] court must indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.’” Fields, 761

F.3d at 453 (quoting Strickland, 466 U.S. at 689)). Additionally, courts presume that counsel’s

“challenged action might be considered sound trial strategy.” Belyeu, 67 F.3d at 538 (citing

Strickland).

       Whether an evidentiary hearing is necessary to resolve charges of ineffective assistance

depends on an assessment of the record. United States v. Smith, 915 F.2d 959, 964 (5th Cir.

1990) (citing Byrne v. Butler, 845 F.2d 501, 512 (5th Cir. 1988)). If the district court cannot

resolve the allegations without examining evidence beyond the record, it must hold a hearing.

Id. (citing Clark v. Blackburn, 619 F.2d 431, 432 (5th Cir. 1980)). If the record is clearly

adequate to dispose fairly of the allegations, the court need not inquire further. Id. “A hearing is

also unnecessary when the petitioner’s allegations are ‘inconsistent with his conduct’ and when



                                                11
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 12 of 25




he does not offer ‘detailed and specific facts’ surrounding his allegations.” Id. (quoting Davis v.

Butler, 825 F.2d 892, 894 (5th Cir. 1987)).

       C.      Issues Raised on Direct Appeal

       In its review of Diehl’s direct appeal, the Fifth Circuit addressed many of the issues Diehl

now raises. “It is settled in this Circuit that issues raised and disposed of in a previous appeal

from an original judgment of conviction are not considered in § 2255 Motions.” United States v.

Kalish, 780 F.2d 506, 508 (5th Cir. 1986) (citing United States v. Jones, 614 F.2d 80, 82 (5th

Cir. 1980)); see also United States. v. Segler, 37 F.3d 1131, 1134 (5th Cir. 1994).

       First, Diehl contends the statute of limitations was expired on all counts and 18 U.S.C. §

3283 does not apply to his offenses.        The Fifth Circuit squarely addressed the statute of

limitations issue when Diehl claimed on appeal that his trial counsel was ineffective for failing to

raise the statute of limitations as a defense. Diehl, 775 F.3d at 719-721. The Fifth Circuit

reached not only the effectiveness of counsel issue, but also reached the issue of the appropriate

statute of limitations for the charges brought against Diehl. Id. “[Section] 3283 is the statute of

limitations applicable to Diehl’s sexual exploitation of a child/production of child pornography

charges under § 2251(a). Because it is undisputed that none of Diehl’s minor victims had

attained the age of 25 at the time of the indictment, Diehl’s indictment was timely.” Id. at 721

(internal citations omitted). This is the very issue Diehl asserts here. Accordingly, despite

Diehl’s repeated reassertions of the same rejected points, the Fifth Circuit has unequivocally

decided the statute of limitations issue against Diehl.

       Diehl argues that since he committed his crimes while the Sentencing Guidelines were

still mandatory, it is an Ex Post Facto violation to sentence him higher than the Guideline range

in effect at the time he committed his crimes. Diehl argues the Fifth Circuit’s reliance in his



                                                 12
            Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 13 of 25




direct appeal on United States v. Austin, 432 F.3d 598, 599 (5th Cir. 2005), to hold otherwise

was misplaced because that case has been abrogated by Peugh v. United States, 569 U.S. 530

(2013), and Molina-Martinez v. United States, 136 S. Ct. 1338 (2016). On his direct appeal, the

Fifth Circuit directly addressed and rejected Diehl’s argument that his sentence is a violation of

the Ex Post Facto clause. Diehl, 775 F.3d at 724. The Fifth Circuit issued its opinion after the

Peugh case on which Diehl relies, and Molina-Martinez did not announce a new rule that has

been made retroactive on collateral review. Accordingly, neither case offers Diehl any relief.

       Diehl also raises issues under the guise of ineffective assistance of counsel relating to the

version of the statute under which he was convicted. Diehl argues his counsel was ineffective

for failing to properly argue Diehl’s jurisdictional defense, i.e., that the court does not have

jurisdiction over this crime unless the Government proves the created images were transported

across state lines. Diehl similarly argues that his counsel was ineffective for failing to object to

the indictment “being amended” and for the 2008 version of the relevant statute being applied to

his case.

       The Fifth Circuit rejected these arguments in its direct review. Diehl argues his trial

counsel argued the court lacked jurisdiction because Diehl lacked the necessary mens rea that the

images would be transported in interstate commerce. Diehl contends his counsel should have

argued the court lacked jurisdiction because the evidence was insufficient that the created images

were transported in interstate commerce. However, the Fifth Circuit rejected the argument Diehl

contends trial counsel should have been made. “The fact that the videos that were created in

Texas and found in multiple other states, together with the witnesses’ testimony supporting the

district court’s findings, is sufficient to satisfy the interstate commerce nexus requirement.”

Diehl, 775 F.3d at 722. To the extent Diehl contends interstate movement of a tangible object



                                                13
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 14 of 25




was required, the Fifth Circuit also affirmed that the “the record includes specific evidence from

which the district court could reasonably infer that Diehl himself transported the images across

state lines, both physically and via the internet.” Id. The Fifth Circuit also rejected Diehl’s

contention that the wrong version of the statute was applied and that indictment was amended

during trial to use a later version of the statute. Id. at n.2 (“the district court correctly identified

the issue and the government’s burden, and expressly found that the government had proven that

the videos actually moved in interstate commerce, as required by the applicable version of §

2251(a)”).

       Diehl is not entitled to relief on any of these grounds. The Fifth Circuit rejected the

merits of these arguments. Diehl cannot now show his counsel was ineffective and he was

prejudiced by that ineffectiveness for failing to make arguments the Fifth Circuit has rejected.

See Koch v. Puckett, 907 F.2d 524, 527 (5th Cir. 1990) (“This Court has made clear that counsel

is not required to make futile motions or objections.”).

       D.      Original Motion’s New Ineffective Assistance of Counsel Issues

       Diehl also argues his trial counsel was ineffective for making a Rule 29 motion at trial,

advising him to stipulate to essential facts and failing to test the Government’s case, and failing

to object to the courtroom’s closure when non-minors testified.

       At the close of the Government’s evidence, Diehl’s attorney moved for judgment of

acquittal under Federal Rule of Criminal Procedure 29, arguing that federal jurisdiction was

lacking because there was no adequate interstate nexus. Dkt. #91 (Trans. Day 1) at 149:16-22.

Diehl contends the motion was ineffective because it was not necessary during the bench trial

and it was prejudicial because it caused the District Judge to state that he found Kenneth

Courtney’s testimony credible to the extent relevant to the Rule 29 motion. See id. at 157:14-25.



                                                  14
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 15 of 25




Diehl also argues the District Judge used an evidentiary standard that was not beyond a

reasonable doubt to decide the Rule 29 motion. See Dkt. #209 (2255 Mtn.) citing Dkt. #91

(Trans. Day 1) at 185:22-186:5. Diehl contends this harmed him on appeal because the Fifth

Circuit referenced Courtney’s testimony and stated, “the record includes specific evidence from

which the district court could reasonably infer that Diehl himself transported the images across

state lines, both physically and via the internet.” Diehl, 775 F.3d at 722.

       Diehl’s argument misrepresents the record and is without merit.           First, there is no

evidence the District Judge applied a lower standard in ruling on the Rule 29 motion. The

District Judge stated he could not find that there was no reasonable trier of fact that could not

convict under the facts presented. Dkt. #91 (Trans. Day 1) at 157:21-24. A reasonable trier of

fact could only convict if the evidence proved Diehl guilty beyond a reasonable doubt. The later

reference in the transcript to a “preliminary ruling” was to a pretrial motion to dismiss filed much

earlier in the case. Id. at 185:22-186:5; see Dkt. #45. The District Judge stated he previously

“ruled that you had enough to get this case to trial.” Dkt. #91 (Trans. Day 1) at 185:24-25. This

obviously cannot be a reference to a motion made during trial. Additionally, the District Judge

found Diehl guilty beyond a reasonable doubt, and there is no evidence that he would have

reached a different determination if there had been no Rule 29 motion. Finally, when the Fifth

Circuit found the District Judge could have inferred sufficient jurisdictional evidence from

Courtney’s testimony, it did not rely on the District Judge’s statements denying the Rule 29

motion. Rather, it did so because of its own standard of review:

       In reviewing the sufficiency of the evidence following a bench trial, we ask
       “whether the finding of guilt is supported by substantial evidence, i.e., evidence
       sufficient to justify the trial judge, as the trier of fact, in concluding beyond
       reasonable doubt that the defendant is guilty.” United States v. Turner, 319 F.3d
       716, 720 (5th Cir.2003) (quoting United States v. Mathes, 151 F.3d 251, 252 (5th
       Cir.1998)). We must “view all evidence in the light most favorable to the


                                                 15
          Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 16 of 25




        government and defer to all reasonable inferences drawn by the trial court.” Id. at
        720–21.

Diehl, 775 F.3d at 721, 722. Accordingly, even assuming counsel’s performance fell below an

objective standard of reasonableness in making the Rule 29 motion,2 Diehl has not shown

counsel’s Rule 29 motion caused him any prejudice. See Conley, 349 F.3d at 841-42 (requiring

both Strickland prongs be met to succeed on an ineffective assistance of counsel claim).

        Next, Diehl contends his counsel was ineffective for advising him to stipulate to essential

facts and failing to test the Government’s case. Diehl contends he agreed to the stipulation, in

part, because his trial counsel assured him that the Government would have to prove he

transported or caused to be transported the visual deprecations he produced. Dkt. #225 (Reply)

at 10. Diehl contends his counsel was ineffective because the Government used the stipulation to

prove all elements of the offenses and had Diehl realized that would be the effect of the

stipulation, he would not have entered into it. In the stipulation, the parties agreed the evidence

established beyond a reasonable doubt the first and second elements of Counts 1-10. Dkt. #78

(Agreed Stip.). The stipulation expressly did not concede the third element: that the visual

depiction was mailed or actually transported in interstate or foreign commerce. Id. at ¶¶ 16, 19.

As described above, the jurisdictional nexus issue was vigorously litigated at trial and on appeal.

In return for the stipulation, Diehl’s Offense Level was reduced two levels for his acceptance of

responsibility. Dkt. #219-1 (PSR) at ¶ 131. Given the overwhelming evidence against him,

Diehl cannot show counsel’s advice to agree to the stipulation in exchange for a two Offense

Level reduction fell below an objective standard of reasonableness or had a prejudicial effect on

his trial. See Fields, 761 F.3d at 453; Belyeu, 67 F.3d at 538.


2
  Although Diehl has shown a Rule 29 motion is not necessary in a bench trial, he has not shown that such a motion
falls below an objective standard of reasonableness. See United States v. Traweek, 707 Fed. App’x 213 (5th Cir.
2017) (counsel made similar motion at a bench trial).

                                                       16
             Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 17 of 25




           Finally, Diehl contends his counsel was ineffective for failing to object to the

courtroom’s closure when certain witnesses testified. Diehl contends the courtroom’s closure

“altered the defenses [sic] trial strategy contributing to the disasterous [sic] bench trial finding of

guilt.” Dkt. #209-1 at 25. Diehl also argues that when his own son testified, the District Judge

denied defense counsel’s request to close the courtroom. Id. The court notes Diehl did not raise

the closing-of-the-courtroom issue on appeal, and the issue here is whether counsel was

ineffective.

           Diehl has not shown his trial counsel’s performance fell below an objective standard of

reasonableness or that he was prejudiced by such unreasonable representation. First, Diehl’s

basis for ineffective assistance is baseless—Diehl’s trial counsel did object to the courtroom

being closed when minor victims testified. The Government’s Motion to Protect the Privacy of

the Juvenile Victims and Witnesses (Dkt. #61) was heard at a December 21, 2010 hearing. See

Dkt. #134 (Dec. 21 Trans.). Diehl’s counsel objected to the Government’s motion and argued

against it. Id. at 22:14-20, 23:2-5, 26:2-5, 26:10-15. Additionally, Diehl offers no specific

prejudice from the order that the courtroom would be closed during minor-victims’ testimony. 3

Finally, the District Judge denied the request to close the courtroom when Diehl’s minor son

testified because counsel represented his testimony would not involve testimony of his abuse.

Dkt. #91 (Trans. Day 1) at 147:7-148:21. The District Judge stated he would reconsider that

decision if the testimony was going to discuss the son’s abuse. Id. at 148:22-24. Diehl’s son was

not asked about his abuse. Diehl has not shown ineffective assistance of counsel as to this issue.

           E.       Amended Motion’s Ineffective Assistance of Counsel Issues

           In his Amended Section 2255 Motion, Diehl raises three new bases for his ineffective

assistance of counsel claim: counsel failed to have Diehl’s hardware inspected per 18 U.S.C. §
3
    Review of the trial transcript shows that no minor victims were called during trial. See Dkt. #91 (Trans. Day 1).

                                                            17
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 18 of 25




3509(m)(2)(B), counsel did not challenge the CMEC reports as hearsay, and counsel did not

challenge the FBI’s search warrant at trial. Dkt. #266 (Amd. 2255 Mtn.) at 7.

       First, Diehl argues that his counsel was ineffective for failing to inspect his seized hard

drives because an inspection would have shown that they did “not have any charged visual

depictions on them.” Dkt. #266 at 44. Although Diehl states his trial counsel did not inspect the

hard drives, he cites to no evidence of that. More importantly, he cannot demonstrate the second

Strickland element—that if an inspection had occurred, the outcome of his trial would have been

different. See Conley, 349 F.3d at 841-42. In the Amended Motion, Diehl states the “hard drives

were either blank, or encrypted.” Dkt. #266 at 43. The hard drive was not offered into evidence

at trial. Dkt. #85 (Government’s Exhibit List). FBI Agent Mullen testified at trial that the FBI’s

“examiners have tried to forensically examine the computer but have been unable to because the

drives – one of the drives is encrypted.” Dkt. #91 (Trans. Day 1) at 42:24-43:1. The District

Judge found the Government had proved the interstate nexus requirement beyond a reasonable

doubt because the Government proved the images had been produced in Texas and the images

were seized in other states. Dkt. #92 (Trans. Day 2) at 6:15-7:15. On direct appeal, the Fifth

Circuit held “the fact that the videos that were created in Texas and found in multiple other

states, together with the witnesses’ testimony supporting the district court’s findings, is sufficient

to satisfy the interstate commerce nexus requirement.” Diehl, 775 F.3d at 722. Diehl has not

shown ineffective assistance of counsel as to this issue.

       Next, Diehl argues his counsel was ineffective because he did not challenge the NCMEC

reports as hearsay. Diehl contends two pieces of evidence proved that the visual depictions were

found outside of Texas—his own stipulation and reports generated by the National Center for

Missing and Exploited Children (“NCMEC”). Dkt. #266 (Amd. 2255 Mtn.) at 52. Because he



                                                 18
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 19 of 25




argues the stipulation was the result of ineffective assistance of counsel, he contends the

NCMEC reports “stand as the only interstate transport evidence.” Id. Diehl fails demonstrate

counsel was ineffective for objecting to these reports at trial. First, it is unclear what NCMEC

reports Diehl’s motion concerns. No NCMEC reports were listed on the Government’s trial

exhibit list. Dkt. #85. Second, notwithstanding Diehl’s stipulation, there was sufficient trial

evidence that the images and videos were found outside of Texas. FBI Agent Mullen testified at

trial that his investigation began when he was contacted by law enforcement outside the state of

Texas who had discovered some of the images at issue in this case and traced their location to the

Star Ranch in McDade, Texas. Dkt. #91 (Trans. Day 1) at 13:9-19. Agents then interviewed

people at Star Ranch and were able to identify a victim, who then identified Diehl and other

witnesses. Id. at 13:20-22. Agent Mullen testified that in conjunction with NCMEC and other

agencies they were able to identify other videos at issue. Id. at 14:11-15. He further testified

that he has been contacted by other law enforcement personnel as those images have been

discovered in other investigations, including investigations outside of Texas. Id. at 38:23-40:6.

He testified that he was contacted after NCMEC indicated to the other law enforcement

personnel that the videos or depictions they had discovered were part of Agent Mullen’s

investigation. Id. at 39:19-22.

       Diehl also argues the District Court relied on these reports at sentencing. Dkt. #266

(Amd. 2255 Mtn.) at 52. The Presentence Investigation Report stated that an affidavit from

NCMEC had been received, which indicated that one series at issue in the case had been

identified 2,681 times on media submitted for review by a law enforcement agency and another

series was identified 706 times. Dkt. #182 (PSR) at ¶ 36. The District Court took note of this at

sentencing. Dkt. #110 (Sent. Tr.) at 110:11-16. During sentencing a district judge may properly



                                               19
        Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 20 of 25




consider any relevant evidence without regard to its admissibility under the rules of evidence

applicable at trial, provided the information has sufficient indicia of reliability to support its

probable accuracy. United States v. Gaytan, 74 F.3d 545, 558 (5th Cir. 1996); United States v.

Thomas, 12 F.3d 1350, 1372 (5th Cir. 1994). Even uncorroborated hearsay, offered as sworn

testimony by a government agent at a sentencing hearing, bears sufficient indicia of reliability to

support a district court’s decision regarding sentencing. United States v. Nava, 624 F.3d 226, 231

(5th Cir. 2010); United States v. Roush, 466 F.3d 380, 387 (5th Cir. 2006). Diehl’s counsel’s

“failure” to object to the affidavit cannot be considered ineffective assistance because counsel is

not deficient for failing to raise a non-meritorious objection. United States v. Kimler, 167 F.3d

889, 893 (5th Cir. 1999) (“An attorney’s failure to raise a meritless argument thus cannot form

the basis of a successful ineffective assistance of counsel claim because the result of the

proceeding would not have been different had the attorney raised the issue.”).

       Finally, Diehl argues his counsel was ineffective because he did not challenge the FBI’s

search warrant at trial. At a pretrial hearing on Diehl’s motion to suppress, the Government

stated that it did not intend to use evidence obtained from the search warrant at issue, and the

District Judge granted the motion to suppress as a motion in limine. Dkt. #134 (Hrg. Trans.) at

4:6-18; Dkt. #68 (Order). Pointing to no evidence, Diehl contends the FBI could have only

learned about future-witness Kenneth Courtney through the results of their search. Dkt. #266

(Amd. 2255 Mtn.) at 50 (“he then brought in Ken Courtney which was evidence obtained from

the search warrant”). However, Kerry Jenkins testified at trial that she told the FBI that Diehl

knew Courtney and that Courtney had been arrested for child pornography. Dkt. #91 (Trans.

Day 1) at 85:12-18. Diehl has not shown that the FBI’s knowledge of Courtney was a result of

the search warrant, or that trial counsel was ineffective for failing to challenge Courtney’s



                                                20
          Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 21 of 25




testimony at trial, or that the outcome of his case would have been different if counsel had made

the objection. Accordingly, Diehl has not shown ineffective assistance of counsel as to this

issue.

         F.       Prosecutorial Misconduct Issue

         Finally, Diehl argues “[t]he cummulative [sic] effect of prosecutorial misconduct at the

grand jury proceedings, pretrial, trial, in the PSR, and on appeal resulted in a manifest

miscarriage of justice, contributing to the wrongful conviction and thirty-year upward variance.”

Dkt. #209 (2255 Mtn.) at 7. “Under the cumulative error doctrine, relief may be obtained only

when constitutional errors so fatally infect the trial that they violate the trial’s fundamental

fairness.” Fields, 761 F.3d at 483 (quoting United States v. Stephens, 571 F.3d 401, 412 (5th

Cir. 2009)). “Where the district court does not commit an error, there can be no cumulative

error.” Id.

         Diehl lists a series of “material misstatement of law and fact,” see Dkt. #209 (2255 Mtn.)

at 31-33, but many of the statements Diehl allegedly quotes from the Sentencing Transcript

cannot be found in the Sentencing Transcript and several other references are to statements the

Government made during his appeal. Diehl also attacks statements made by the Government

during sentencing, see Dkt. #209 (2255) at 34-35, but several of these alleged statements cannot

be located in the record and the remaining are fair attorney argument. This case was tried to the

bench, and the District Judge was fully knowledgeable about the evidence. Even if Diehl were to

show any of the statements were improper, he has not shown that they unfairly prejudiced the

District Judge.

         Diehl also argues the Government withheld exculpatory evidence concerning Kenneth

Courtney’s previous out of court statements and agreements Courtney had with the Government



                                                 21
          Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 22 of 25




regarding his testimony against Diehl. In his argument, Diehl references inconsistent statements

made by Courtney, but Diehl never states how he became aware of those statements. The

Government contends the statements are contained in an FBI interview summary of Courtney,

which was produced to Diehl before trial. Dkt. #218 (Resp.) at 22-23. Diehl does not rebut this

assertion in his reply, but instead argues the Government “gave a jail house snitch five years off

his sentence to lie.” Dkt. #225 (Reply) at 17. Diehl has not shown any constitutional errors

relating to his trial, much less conduct that would result in a miscarriage of justice. See Fields,

761 F.3d at 483 (requiring constitutional errors that violate the trial’s fundamental fairness).

        The court also notes Diehl did not raise these issues in his direct appeal 4 and did not offer

any arguments as to why he could not have done so. See Smith, 32 F.3d at 196; Shaid, 937 F.2d

at 232. Diehl has not shown that he is entitled to habeas relief on these issues.

        G.       Request for an Evidentiary Hearing

        An evidentiary hearing is not necessary to resolve Diehl’s 2255 Motion, and Diehl’s

request for an evidentiary hearing should be denied.

V.   PETITION TO FILE SUPPLEMENTAL BRIEF CONCERNING STATUTE                                    OF   LIMITATION
CORRUPTION AND EX POST FACTO SENTENCE (Dkt. # 269)

        Diehl seeks leave to file an additional brief relating to the alleged conspiracy to bring

“expired charges against him.” Dkt. #269 at 1. He states, “The supplemental brief was first

mentioned in Petitioners [sic] Motion for Reconsideration to Recuse Magistrate Mark Lane.” Id.

He also seeks leave to file a second brief concerning “the ex post facto sentence.” Id. He states,

“This brief was first offered in ‘Objection to Order and Report And Recommendation of the

United States Magistrate Judge.” Id. Finally, he contends that “[d]ue to the § 2255 page limit,

Petition did not have the chance to fully brief this important issue.” Id.

4
 Diehl did file a motion for an independent investigation into possible corruption on the part of the Government and
his trial counsel, which the Fifth Circuit denied as “wholly speculative and unsupported by the record.”

                                                        22
        Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 23 of 25




       The court denies this motion for several reasons. First, according to Diehl, these briefs

have already been before the court.       Second, Diehl’s Original Section 2255 Motion and

Memorandum was over 65 pages long, not including attachments, and his Amended Motion

included nine pages of new argument. Dkt. #209 (2255 Mtn.); Dkt. #266 (Amd. 2255 Mtn.).

Diehl cites to no rule that limited the number of pages he could file with his Original Section

2255 Motion. Third, Diehl sought leave to amend his Original Section 2255 Motion on three

specific grounds, which these briefs do not address. Compare Dkt. #257 with Dkt. #269. Diehl

was granted leave to “amend any pending motion on or before December 6, 2018.” Dkt. #258.

This motion was filed a month after that deadline. Dkt. #269. Moreover, as described above, in

considering Diehl’s direct appeal, the Fifth Circuit conclusively rejected Diehl’s statute of

limitations argument and his argument that his sentence violated the Ex Post Facto clause, and

issues raised and resolved on direct appeal are not considered in a section 2255 motion. Diehl,

775 F.3d at 719-24; Kalish, 780 F.2d at 508.

VI.    ORDERS AND RECOMMENDATIONS

       As stated above, the court DENIES Diehl’s First Petition for Particular FBI Report (Dkt.

#267) and Petition to File Supplemental Brief Concerning Statute of Limitation Curruption [sic]

and Ex Post Facto Sentence (Dkt. #269).

       For the reasons stated above, the court RECOMMENDS the Government’s Motion for

Return of Discovery Materials and Discovery Protective Order (Dkt. #202) be GRANTED.

       For the reasons stated above, the court also RECOMMENDS David Diehl’s Amended

Motion Under 28 U.S.C. § 2255 (Dkt. #266) be DENIED.




                                               23
         Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 24 of 25




VI.     CERTIFICATE OF APPEALABILITY

        An appeal may not be taken to the court of appeals from a final order in a proceeding

under section 2255 “unless a circuit justice or judge issues a certificate of appealability.” 28

U.S.C. § 2253(c)(1)(A). Pursuant to Rule 11 of the Federal Rules Governing Section 2255

Proceedings, effective December 1, 2009, the district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.

        A certificate of appealability (“COA”) may issue only if a movant has made a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). The Supreme Court fully

explained the requirement associated with a “substantial showing of the denial of a constitutional

right” in Slack v. McDaniel, 529 U.S. 473, 484 (2000). In cases where a district court rejected a

movant’s constitutional claims on the merits, “the petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or

wrong.” Id. “When a district court denies a habeas petition on procedural grounds without

reaching the petitioner’s underlying constitutional claim, a COA should issue when the petitioner

shows, at least, that jurists of reason would find it debatable whether the petition states a valid

claim of the denial of a constitutional right and that jurists of reason would find it debatable

whether the district court was correct in its procedural ruling.” Id.

        In this case, reasonable jurists could not debate the denial of Petitioner’s section 2255

motion on substantive or procedural grounds, nor find that the issues presented are adequate to

deserve encouragement to proceed. Miller-El v. Cockrell, 537 U.S. 322, 327 (2003) (citing

Slack, 529 U.S. at 484). Accordingly, it is respectfully recommended that the District Court not

issue a certificate of appealability.




                                                 24
        Case 1:10-cr-00297-LY Document 270 Filed 01/11/19 Page 25 of 25




VII.   OBJECTIONS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections.

See Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings

and recommendations in the Report and, except upon grounds of plain error, shall bar the party

from appellate review of unobjected-to proposed factual findings and legal conclusions accepted

by the District Court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53

(1985); Douglass v. United Services Automobile Ass’n, 79 F.3d 1415 (5th Cir. 1996)(en banc).



       SIGNED January 11, 2019
                                              _______________________________
                                              MARK LANE
                                              UNITED STATES MAGISTRATE JUDGE




                                              25
